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                     IN THE UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF COLUMBIA


Angelica CASTAÑON, et al.,

       Plaintiffs,

       v.                                                    Case No. 1:18-cv-2545
                                                             (RDM, RLW, TNM)
The UNITED STATES OF AMERICA,
et al.,

       Defendants.



                         PLAINTIFFS’ STATEMENT OF
            MATERIAL FACTS AS TO WHICH THERE IS NO GENUINE ISSUE

       Pursuant to Rule 56 of the Federal Rules of Civil Procedure and Rule 7(h) of the Rules of

the United States District Court for the District of Columbia, Plaintiffs hereby submit the

following statement of material facts as to which there is no genuine issue.

       1.      Plaintiffs are United States citizens not subject to disenfranchisement by age or

felony conviction. See, e.g., Declaration of Susannah Weaver, attached hereto as Exhibit A.

       2.      Plaintiffs are District of Columbia residents. See MTD 1 (admitting that

“[p]laintiffs are individual residents of the District who seek voting representation in the House

of Representatives and Senate”).

       3.      Plaintiffs are not represented in the United States Congress by any representative

with voting power. See MTD 1 (admitting that “residents of the District have never elected

Senators or Representatives”); MTD 16 (admitting that “District residents lack representation in

both the House and Senate”).
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June 3, 2019                            Respectfully submitted,

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                                CERTIFICATE OF SERVICE
       I hereby certify that on June 3, 2019 I electronically filed the foregoing document with the

Clerk of the Court using the CM/ECF system, and have verified that such filing was sent

electronically using the CM/ECF system to all parties who have appeared with an email address

of record.



                                                     /s/ Christopher J. Wright
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                      EXHIBIT A
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